                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )          No.     3:21-mj-2668
       v.                                         )
                                                  )                  Magistrate Judge Frensley
                                                  )
ERIC MUNCHEL                                      )

   GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRE-TRIAL DETENTION

       The United States of America, by and through its attorney, the United States Attorney for

the Middle District of Tennessee, respectfully files this memorandum in support of pre-trial

detention. The defendant, Eric MUNCHEL, traveled to Washington, D.C. to attend the “Stop the

Steal” rally on or about January 6, 2021, where he intended to protest the outcome of the 2020

Presidential election. MUNCHEL was prepared for conflict: as he told a reporter, he was ready to

“rise up” and “fight if necessary.” After the rally concluded, MUNCHEL—who was dressed in

tactical gear and carried a taser on his hip, and stashed other “weapons” in a tactical bag outside

the Capitol—unlawfully entered the U.S. Capitol along with a mob of rioters who smashed

windows and broke through doors. MUNCHEL gleefully acquired several sets of plastic handcuffs

as he walked through the Capitol and entered the Senate chamber, where only moments earlier the

Vice President of the United States was certifying the results of the 2020 Presidential election. In

the Senate gallery, MUNCHEL stood with a crowd whose members shouted “Treason!” and

lamented the disappearance of lawmakers from the chamber moments earlier. MUNCHEL’s

conduct here was dangerous and extremely serious. This Court should adopt the recommendation

of the Pretrial Services Office and detain MUNCHEL pending trial.




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I.      Procedural Background

        On January 10, 2021, U.S. Magistrate Judge for the District of Columbia G. Michael

Harvey issued a Criminal Complaint charging MUNCHEL with one count each of Knowingly

Entering or Remaining in a Restricted Building or Grounds without Lawful Authority, in violation

of 18 U.S.C. § 1752(a), and Violent Entry and Disorderly Conduct on Capitol Grounds, in violation

of 40 U.S.C. § 5104(e)(2). MUNCHEL made his initial appearance in the Middle District of

Tennessee on January 11, 2021. (ECF Doc. No. 2.) At that time, the government requested that

MUNCHEL be held as a danger to the community, pursuant to 18 U.S.C. § 3142(f)(1)(A), and as

a serious risk of flight, pursuant to 18 U.S.C. § 3142(f)(2)(A). (Id.)

        On January 15, 2021, U.S. Magistrate Judge for the District of Columbia Zia M. Faruqui

issued a Criminal Complaint charging MUNCHEL with the offenses above, as well as two

additional offenses, namely, Conspiracy, in violation of 18 U.S.C. § 371, and Civil Disorders, in

violation of 18 U.S.C. § 231(a)(3). That Complaint charges the defendant’s mother, Lisa Eisenhart,

with the same offenses.

        The government seeks MUNCHEL’s continued detention pending trial in this matter on

the grounds that he is a danger to the community and a serious risk of flight.

II.     There is Probable Cause to Believe that MUNCHEL Committed the Offenses in the
        Complaint

        “If a defendant is charged with an offense other than a petty offense, a magistrate judge

must conduct a preliminary hearing unless” the defendant waives the hearing or is indicted. Fed.

R. Crim. P. 5.1(a). 1 “At the preliminary hearing, the defendant may cross-examine adverse

witnesses and may introduce evidence but may not object to evidence on the ground that it was



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         There are other circumstances in which a defendant is not entitled to a preliminary hearing, but they do not
apply here. See Fed. R. Crim. P. 5.1(a)(3)-(5).

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unlawfully acquired.” Fed. R. Crim. P. 5.1(e). “If the magistrate judge finds probable cause to

believe an offense has been committed and the defendant committed it, the magistrate judge must

promptly require the defendant to appear for further proceedings.” Id.

        MUNCHEL is charged by complaint, as noted, with violations of 18 U.S.C. § 371, 18

U.S.C. § 231(a)(3), 18 U.S.C. § 1752(a), and 40 U.S.C. § 5104(e)(2). To prove a violation of 18

U.S.C. § 231(a)(3), the government must show (1) that a civil disorder existed at the time of any

alleged violation; (2) that such civil disorder was resulting in interference with a federally protected

function; (3) that one or more law enforcement officers were lawfully engaged in the lawful

performance of their official duties incident to and during the commission of such civil disorder;

(4) that the defendant attempted to commit an act for the intended purpose of obstructing,

impeding, or interfering, either by himself or with someone else, in a violent manner with such

law enforcement officer or officers; and (5) that such attempt to act was done willfully and

knowingly. United States v. Casper, 541 F.2d 1275, 1276 (8th Cir. 1976).

        To prove a violation of 18 U.S.C. § 1752(a), the government must show that the

defendant’s conduct satisfies at least one of the subsections of § 1752(a). At least three

subsections—(a)(1) through (a)(3)—are implicated by MUNCHEL’s conduct, although the Court

need only find at the preliminary hearing that the government has satisfied one of these subsections

to find that the government has established probable cause for a violation of § 1752(a). See, e.g.,

United States v. Bursey, 416 F.3d 301, 309 (4th Cir. 2005) (“The Statute require[s] only that [the

defendant] refrain from ‘willfully and knowingly . . . enter[ing] or remain[ing] in any posted,

cordoned off, or otherwise restricted area of . . . grounds where the President or other person

protected by the Secret Service is or will be temporarily visiting.”) (alterations in original).

Furthermore, under 18 U.S.C. § 1752(b)(1)(A), a defendant, as here, is subject to a statutory



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maximum penalty of ten years if he, “during and in relation to the offense, uses or carries a deadly

or dangerous weapon or firearm.”

       To prove a violation of 40 U.S.C. § 5104(e)(2), the government must show that the

defendant’s conduct satisfies at least one of the subsections of § 5104(e)(2). At least five

subsections—(A), (B), (C), (D), and (G)—are implicated by MUNCHEL’s conduct, although the

Court need only find at the preliminary hearing that the government has satisfied one of these

subsections to find that the government has established probable cause for a violation of §

5104(e)(2).

       Lastly, to prove a violation of 18 U.S.C. § 371, the government must show “an agreement

willfully formed between two or more persons to commit an offense”—here, violations of 18

U.S.C. § 231(a)(3), 18 U.S.C. § 1752(a), and/or 40 U.S.C. § 5104(e)—“attended by an act of one

or more of the conspirators to effect the object of the conspiracy.” United States v. Dolt, 27 F.3d

235, 238-39 (6th Cir. 1994); see also Sixth Circuit Pattern Jury Instr. 3.01A (“Conspiracy to

Commit an Offense—Basic Elements”).

       Here, the government has submitted a statement in support of the criminal complaint

establishing probable cause to believe that MUNCHEL, while dressed in tactical gear and carrying

a taser and plastic handcuffs, roamed the U.S. Capitol for the purpose of, at a minimum, disrupting

the counting of the Electoral College vote, over which Vice President Mike Pence was presiding.

The allegations underlying the complaint also establish that MUNCHEL and Eisenhart followed

after two Capitol Police officers while carrying these handcuffs, and that Eisenhart appears to have

shouted at the officers while leaning over a banister. At the preliminary hearing, the government

anticipates calling a law enforcement witness to adopt the representations in the statement in




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support of the criminal complaint and to provide additional information regarding MUNCHEL’s

conduct in this case. That witness will also be available for cross-examination by the defense.

         Presuming that the government establishes probable cause to believe that MUNCHEL

committed violations of 18 U.S.C. § 371, 18 U.S.C. § 231(a)(3), 18 U.S.C. § 1752(a), and 40

U.S.C. § 5104(e)(2), the government also anticipates that it will establish that detention is

appropriate under 18 U.S.C. §§ 3142(f)(1)(A) and (f)(2)(A), for the reasons below.

III.     LEGAL PRINCIPLES GOVERNING REQUESTS FOR DETENTION

         A.      STATUTORY BASES FOR DETENTION

         There are at least three statutory bases for detention in this case. First, this Court may detain

a defendant upon motion of the attorney for the Government in a case that involves a crime of

violence. 18 U.S.C. § 3142(f)(1)(A). The term “crime of violence” means, among other things,

“any . . . offense that is a felony and that, by its nature, involves a substantial risk that physical

force against the person or property of another may be used in the course of committing the

offense.” 18 U.S.C. § 16(b). Committing a violation of 18 U.S.C. § 1752(a) by using a dangerous

or deadly weapon as outlined in § 1752(b)(1)(A) makes this case one that involves a crime of

violence.

         Second, the Court may detain a defendant upon motion of the attorney for the Government

in a case that involves “any felony that is not otherwise a crime of violence . . . that involves the

possession or use of a firearm or destructive device . . . or any other dangerous weapon . . . .” 18

U.S.C. § 3142(f)(1)(E). Thus, even assuming that this Court found § 1752(a) not to be a crime of

violence, it is nevertheless a felony (on the facts alleged here) that involves the possession or use

of a dangerous weapon, namely, a taser.




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       Lastly, the Court may detain a defendant upon motion of the attorney for the Government

in a case that involves a serious risk that such person will flee. 18 U.S.C. § 3142(f)(2)(A).

       B.      FACTORS JUSTIFYING DETENTION

       The government bears the burden of persuasion on the issue of pretrial detention. United

States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). In determining whether the government has met

its burden of persuasion, this Court must consider four factors: (1) the nature and circumstances

of the offense charged, including whether, for example, the offense is a crime of violence; (2) the

weight of the evidence against the defendant; (3) the history and characteristics of the defendant;

and (4) the nature and seriousness of the danger to any person or the community that would be

posed by the defendant’s release. 18 U.S.C. § 3142(g). A judicial officer’s finding of

dangerousness must be supported by clear and convincing evidence. 18 U.S.C. § 3142(f)(2)(b);

Stone, 608 F.3d at 945. When “risk of flight” is the basis for detention, however, the government

must only satisfy a preponderance of the evidence standard. United States v. Xulam, 84 F.3d 441,

442 (D.C. Cir. 1996); United States v. Chimurenga, 760 F.2d 400, 405-06 (2d Cir. 1985); United

States v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985); United States v. Orta, 760 F.2d 887, 891 (8th

Cir. 1985); United States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985).

       For the reasons below, these factors weigh in favor of detention in this case.




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IV.     FACTUAL PROFFER OF THE EVIDENCE SUPPORTING THE CHARGE
        AGAINST DEFENDANT MUNCHEL 2

        A.      The Events of January 6, 2021

        On or about January 4, 2021, MUNCHEL and Eisenhart traveled from Nashville to the

Grand Hyatt Hotel in Washington, D.C., to participate in the “Stop the Steal” rally scheduled for

January 6, 2021. (Subpoenaed records from the Grand Hyatt Hotel in Washington, D.C. establish

that Eisenhart rented a hotel room on January 4, 2021, and that she checked out of the room on

January 7, 2021.) MUNCHEL and Eisenhart made no secret of their intentions in traveling to

Washington: they told a reporter for The Sunday Times that they made the trip because they

“wanted to show that we’re willing to rise up, band together[,] and fight if necessary. Same as our

forefathers, who established this country in 1776.” (See Exh. A, The Sunday Times Article.)

MUNCHEL thus perceived himself to be a revolutionary, in the mold of those who overthrew the

British government in the American Revolution.

        On January 6, 2021—the day of the rally—the exterior plaza of the U.S. Capitol was closed

to members of the public, because a joint session of the United States Congress had convened at

the United States Capitol. The Capitol is located at First Street, SE, in Washington, D.C., and is

secured 24 hours a day by Capitol Police. Restrictions around the Capitol include permanent and




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          “[C]onducting a bail hearing by proffer is acceptable under the law and at the discretion of the
district court.” Stone, 608 F.3d at 949-50 (citation omitted); see also United States v. Smith, 79 F.3d 1208,
1210 (D.C. Cir. 1996) (“Every circuit to have considered the matter . . . [has] permitted the Government to
proceed by way of proffer.”) (citing cases). Here, because MUNCHEL is entitled to a preliminary hearing,
the government anticipates introducing testimonial and documentary evidence in addition to the proffered
evidence outlined below. The government notes further that the investigation in this case is a developing
one, and that the government continues to learn new information on a near-daily basis. To the extent that
the government learns any information affecting the representations in this filing in a material way, the
government will apprise the Court of that information.


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temporary security barriers and posts manned by Capitol Police. Only authorized people with

appropriate identification are allowed access inside the Capitol.

       During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in separate chambers of the Capitol to certify the vote

count of the Electoral College of the 2020 Presidential Election, which had taken place on

November 3, 2020. The joint session began at approximately 1:00 p.m. Vice President Mike Pence

was presiding in the Senate chamber.

       Meanwhile, attendees at the “Stop the Steal” rally, including MUNCHEL and Eisenhart,

began making their way to the Capitol. MUNCHEL later explained to the Times reporter that his

actions in marching to and entering the Capitol were intended as a show of force: he said that their

storming of the Capitol was “a kind of flexing of muscles.” MUNCHEL claimed, however, that

by entering the Capitol, he did not intend to “fight the police”; he said instead that “[t]he point of

getting inside the building is to show them that we can, and we will.”

       With the joint session underway and with Vice President Mike Pence presiding, a large

crowd, including MUNCHEL and Eisenhart, gathered outside the Capitol. Temporary and

permanent barricades surround the exterior of the Capitol. Capitol police were present and

attempting to keep the crowd away from the Capitol buildings and the proceedings underway

inside. At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,

and over the barricades and officers of the Capitol Police, and the crowd advanced to the exterior

façade of the building. At such time, the joint session was still underway and the exterior doors

and windows of the Capitol were locked or otherwise secured. Members of the Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol. Shortly after 2:00 p.m.,

however, individuals in the crowd forced entry into the Capitol, including by breaking windows.



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       MUNCHEL and Eisenhart were among the persons who entered the Capitol. Eisenhart

claimed to the Times reporter that she and MUNCHEL entered the Capitol as “observers,” and

that MUNCHEL told Eisenhart not to touch anything while inside. But when MUNCHEL entered

the Capitol, he was dressed for combat: he wore combat boots, military fatigues, a tactical vest,

gloves, and a gaiter that covered all of his face except for his eyes. MUNCHEL had also armed

himself with a taser on his hip. And MUNCHEL had mounted a red iPhone to his chest, ostensibly

to record the events that day:




Eisenhart was dressed for combat as well, wearing a tactical vest over her flannel shirt:




       In the photograph depicting MUNCHEL and Eisenhart before they entered the Capitol,

neither of them was carrying plastic handcuffs, also known as “flex cuffs.” But still captures of



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surveillance video inside the Capitol depict both MUNCHEL and Eisenhart carrying white plastic

handcuffs:




The photograph of MUNCHEL hopping a guardrail in the Senate chamber also depicts

MUNCHEL carrying white plastic handcuffs. And at no point in their conversation with the Times

reporter did MUNCHEL or Eisenhart mention that they both carried plastic handcuffs through the

halls of Congress. Notably, MUNCHEL told the Times reporter that he had left his guns in

Tennessee because of the “strict” guns laws in Washington—the implication being that

MUNCHEL would have been armed with a firearm had Washington’s gun laws not been in place.

And, as described below, there is evidence that MUNCHEL and Eisenhart were armed with

firearms when they came to Washington for the rally.

       MUNCHEL and Eisenhart left Washington, D.C. for Nashville on January 7, 2021. But

MUNCHEL and Eisenhart made clear in their interview with the Times that they have no intention

of abandoning their goals of revolution. MUNCHEL lamented the ability of pro-Trump groups to

organize, in part due to their removal from mainstream social media sites. Eisenhart agreed,

explaining that “The left has everything: the media, organizations, the government. We have to


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organize if we’re going to fight back and be heard.” Eisenhart, furthermore, made clear that she

was willing to die for that cause, explaining: “This country was founded on revolution. If they’re

going to take every legitimate means from us, and we can’t even express ourselves on the internet,

we won’t even be able to speak freely, what is America for? I’d rather die as a 57-year-old woman

than live under oppression. I’d rather die and would rather fight.”

       B.      Identification of MUNCHEL and Eisenhart

       On the evening of January 8, 2021, persons using social media began identifying various

clues on social media and elsewhere, which pointed to MUNCHEL as the person depicted in the

Senate chamber wearing tactical gear and carrying plastic handcuffs. In the photographs above,

MUNCHEL is wearing or displaying several distinctive items, including: (1) a black baseball cap

depicting a rifle and a flag, with writing on the left side of the cap near the back of the cap; (2) a

patch on the center of his chest displaying the “Punisher” comic book character, as well as a

Tennessee “thin blue line” patch depicting the State of Tennessee bisected by a horizontal blue

line; and (3) a long-sleeve shirt in a fatigues pattern with black rectangles on the upper sleeves.

MUNCHEL is also depicted walking alongside Eisenhart outside the Capitol, wearing the same

distinctive clothing he is depicted wearing in the Senate chamber.

       MUNCHEL also maintains or maintained a Facebook page. As of approximately January

9, 2021, MUNCHEL’s profile on Facebook appeared as follows:




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MUNCHEL’s Facebook page was taken down in the late evening hours on January 8, 2021, and

is no longer accessible.

       MUNCHEL is depicted in the circular Facebook photo above wearing what appears to be

a white t-shirt with the words “Kid Rock” or something similar on the left breast. “Kid Rock’s Big

Ass Honky Tonk” is a bar located in downtown Nashville, Tennessee. On an Instagram post from

August 18, 2020, MUNCHEL is depicted wearing what appears to be a white t-shirt with the words

“Kid Rock” or something similar on the left breast. MUNCHEL also appears to have one or more

brown wristbands on his right wrist:




       Before MUNCHEL’s Facebook page was taken down, various actors on social media

sought to capture screen shots of MUNCHEL depicted online. Those screen shots included a


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photograph of MUNCHEL in downtown Nashville draped in an American flag; wearing a baseball

cap depicting a rifle and a flag; wearing one or more brown wristbands on his right wrist; and

carrying an item in a wraparound holster on his right thigh:




Those screen shots also included MUNCHEL, holding an American flag and a shotgun, standing

in front of a television playing a statement by President Trump; a baseball cap depicting a rifle and

a flag is resting on a small desk behind him; and wearing one or more brown wristbands on his

right wrist:




        On or about January 6, 2021, after the riot at the Capitol, MUNCHEL was also recorded

on a LiveStream video in the lobby of the Grand Hyatt. Screen captures of that video, reproduced

below, depict MUNCHEL wearing a long-sleeved shirt in a fatigues pattern with black rectangle

on the upper sleeves, and a dark baseball cap with writing on the left side of the cap near the back

of the cap:


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Law enforcement officers also had an encounter with MUNCHEL in the area of the Grand Hyatt

Hotel. One of the officers observed a black holster on MUNCHEL’s right hip, along with the black

grip of what appeared to the officer at that time to be a firearm. Officers spoke with MUNCHEL,

who permitted the officers to remove the item from the holster. Officers determined the item to be

a black and yellow “Taser Pulse” taser, which was designed to administer an electrical shock.

MUNCHEL informed the officers that he possessed the taser for his own protection as he

participated in what he described as the First Amendment assemblies at the pro-Trump rally.

MUNCHEL was identified at that time by his Tennessee concealed weapons permit. The home

address listed for MUNCHEL in the Metropolitan Police Department’s police paperwork as a

result of this police contact and taser seizure, furthermore, is nearly identical to MUNCHEL’s

actual address in Nashville.

       C.      Search Warrant Execution and Additional Investigation

       Based in part upon the information above, the government obtained a federal search

warrant for MUNCHEL’s residence in Nashville on January 9, 2021. Federal agents began visual

surveillance of the residence that same day. At approximately 6:00 p.m., a federal agent observed

a person the agent believed to be MUNCHEL arrive in a red Kia Sentra registered to Eisenhart and

enter the residence. At approximately 6:00 a.m. on January 10, 2021, FBI agents with the Joint

Terrorism Task Force executed the search warrant at the residence. MUNCHEL was not present.




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As it turned out, the person whom agents had observed arrive the night before was not MUNCHEL

but a relative of MUNCHEL’s (“W-1”).

       During an interview with W-1 that followed, W-1 informed agents that W-1 and

MUNCHEL lived at the residence. W-1 informed agents further that MUNCHEL and Eisenhart

traveled to Washington, D.C. on or about January 6, 2021, to attend the pro-Trump rally scheduled

on that date. W-1 informed agents that W-1 did not travel to Washington, D.C. with MUNCHEL

and Eisenhart, and instead remained in Nashville.

       W-1 informed agents that MUNCHEL and Eisenhart returned from Washington, D.C. to

the residence on January 7, 2021. W-1 informed agents that Eisenhart left the residence on January

8, 2021. W-1 informed agents further that MUNCHEL left the residence on the morning of January

9, 2021, and informed W-1 that he was going to work. Some time later that day, MUNCHEL’s

manager called W-1, inquiring about MUNCHEL’s whereabouts, as MUNCHEL had not come

into work that day. W-1 later spoke with MUNCHEL by telephone; MUNCHEL told W-1 that he

was “OK,” but did not offer additional details about where he was located or whether he was with

anyone.

       Inside the residence, agents located the items MUNCHEL was depicted wearing in the

photograph above in the Senate chamber, including the tactical vest with a patch on the center of

the chest displaying the “Punisher” comic book character and the Tennessee “thin blue line” patch

depicting the State of Tennessee bisected by a horizontal blue line; a baseball cap depicting a rifle

and a flag, with writing on the left side of the cap near the back of the cap; and five pairs of white

plastic handcuffs:




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       Agents recovered a second tactical vest as well, which appears similar, if not identical, to

the vest Eisenhart appeared to be wearing at the Capitol. W-1 informed agents that all of these

items belonged to MUNCHEL. W-1 informed agents that a bedroom inside the residence was

MUNCHEL’s bedroom. Agents located a black Stack-On safe, standing approximately 5 feet tall,

inside that bedroom. Inside a closet in the bedroom, agents also located a .22 caliber revolver.

Agents also located dozens of rounds of ammunition inside the bedroom, along with multiple

empty and full magazines.

       Based on the information above, the government obtained a federal search warrant to

search the premises, as well as the black Stack-On safe located inside the premises, for (among

other things) firearms, firearms, parts and ammunition. During a search of the black Stack-On safe,

agents located approximately 15 firearms, including assault rifles, a sniper rifle with a tripod, other

rifles, shotguns, and pistols, and hundreds of rounds of ammunition. Agents also located a drum-

style magazine elsewhere in the residence. A photograph of these items is below:




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Agents did not recover any cell phones during their search of the residence. But agents learned

that MUNCHEL had provided a red iPhone to a friend, W-2, for “safekeeping.” W-2 also reported

that MUNCHEL told W-2 that the photograph that had been circulating of a male wearing tactical

gear and jumping over a railing in the U.S. Senate chamber was MUNCHEL. Agents later seized

that red iPhone as evidence.

       D.      The Videotape

       Law enforcement recovered a video that MUNCHEL took on his iPhone on January 6,

2021. That video—captured using the cell phone MUNCHEL mounted to his chest—depicts

MUNCHEL standing with Eisenhart in a large crowd outside the Capitol. As MUNCHEL and

Eisenhart make their way to the Capitol, they encounter several members of the “Oathkeepers,” a

militia group that is distrustful of government authority. One of the Oathkeepers says, “There’s 65

more of us coming.” MUNCHEL, when he recognizes them, says in affirmation, “Oathkeepers,”

and bumps fists with one of the men.


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       It is clear at that point in the video that persons are entering, or attempting to enter, the

Capitol. At that time, Eisenhart says, “We’re going straight to federal prison if we go in there with

weapons.” MUNCHEL says words to the effect of, “Yeah, that’s why I’m not going in there.”

Eisenhart replies, “Let’s go put it—we can put ‘em in the backpacks.” MUNCHEL and Eisenhart

then walk towards a low stone wall, where MUNCHEL sets up plastic chairs and encourages

protestors to climb over the wall towards the Capitol and helps them do so. Eisenhart likewise

encourages protesters to enter the Capitol, exhorting them, “Yeah, go up in there. You can go up

in there now.” Moments later, MUNCHEL says he needs to “take my weapons off before I go in

there.” MUNCHEL and Eisenhart retreat through the crowd, to a location where a tactical bag and

other items appear to have been stashed. At that location, MUNCHEL and Eisenhart take items

off of their person and deposit those items in or near the bag. Eisenhart can then be heard to say,

“We’re going in,” “the [tear] gas isn’t bad,” and “Let’s go in, let’s go in.”

       As MUNCHEL and Eisenhart get closer to the Capitol, an unknown woman can be heard

to make a reference to “treason.” MUNCHEL replies, “Hell yeah it is.” As they push through the

crowd, Eisenhart engages with a rioter who tells her that he was “maced,” and that he “punched

two of them in the face,” to which Eisenhart replies, “Good.” Eisenhart says further, “While

everyone else is on their couch, you guys are training, and getting ready for it.” Eisenhart also tells

MUNCHEL that someone in the crowd was saying that the events at the Capitol were “on the

news”; MUNCHEL replies in part, “Oh yeah.” MUNCHEL says further, “They’re gonna use this

against us as hard as they can.” Eisenhart replies, “I don’t care, that’s fine, I don’t care.”

MUNCHEL asserts, “We ain’t playing fucking nice no god damn more.” Eisenhart replies, “That’s

right.” Moments later, a person in the crowd tells MUNCHEL and Eisenhart, “You guys look like

y’all ready to go.” MUNCHEL replies, “Fucking ready to fuck shit up.”



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       As MUNCHEL and Eisenhart approach the Capitol, a man can be heard shouting,

“Congress is shut down! Tear gas packages thrown in the Congress!” Eisenhart exclaims, “They

got tear-gassed, motherfuckers! Oh my God. That is [unintelligible] my best day, to know that they

got tear-gassed.” Other people in the crowd can be heard screaming, “Fuck that, this is our house!”

As MUNCHEL and Eisenhart crawl through a broken metal guardrail outside the Capitol,

MUNCHEL can also be heard saying, “Hell yeah, baby!”

       As MUNCHEL and Eisenhart approach the exterior of the Capitol, Eisenhart remarks,

“The story of how we got in is going to be great—who got us in the house.” MUNCHEL replies,

“Probably the last time I’ll be able to enter the building with armor and . . . fucking weapons.” It

is then possible to hear the sounds of shattering glass and breaking windows, at which time

MUNCHEL shouts, “I guess they thought we were playing!” MUNCHEL and Eisenhart then enter

the Capitol amidst a throng of protestors and make their way to the upstairs level. They encounter

a man shouting, “Treason!” into a bullhorn, and Eisenhart joins the chant. MUNCHEL informs

various rioters, “Don’t break shit,” and “No vandalizing shit,” and “We ain’t no god damn Antifa,

motherfuckers.”

       At one point, MUNCHEL spots plastic handcuffs on a table inside a hallway in the Capitol.

MUNCHEL exclaims, “Zipties. I need to get me some of them motherfuckers,” and grabs several

white plastic handcuffs from on top of a cabinet (but leaves many others). MUNCHEL then follows

after Eisenhart, who is carrying a handcuff as well, to a staircase near the entrance to the Senate

gallery; it appears from Capitol surveillance video that Eisenhart is following after two Capitol

Police officers who had just encountered a mob outside the entrance to the Senate gallery.

Eisenhart shouts from the banister, “Freedom!” “Traitors!” “We want a fair election!” and “We

want rule of law!” MUNCHEL and Eisenhart then enter the Senate gallery; chillingly, persons in



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the crowd can be heard shouting, “Anybody home?” “They went into the tunnels,” “Where’d you

go?” “They’re cowards!” “Are you afraid?” and “Treason!” Eisenhart is depicted shouting

“Treason!” as well. Just before MUNCHEL and Eisenhart leave the gallery, MUNCHEL shouts,

“I want that fucking gavel!” Lastly, as MUNCHEL and Eisenhart are attempting to leave,

Eisenhart says words to the effect of, “Don’t carry the zip ties, just get ‘em out of their hand, out

of [unintelligible] get ‘em out of our hands.”

V.     THIS COURT SHOULD DETAIN DEFENDANT MUNCHEL AS A DANGER TO
       THE COMMUNITY AND AS A SERIOUS FLIGHT RISK

       The government has met its burden of showing that there is clear and convincing evidence

that MUNCHEL should be detained pending trial to ensure the safety of the community. The

government has also met its burden of showing by a preponderance of the evidence that

MUNCHEL poses a serious risk of flight.

       A.      Defendant MUNCHEL is Charged with a Serious Offense

       The nature and circumstances of the offense charged in this case militate strongly in favor

of detention. MUNCHEL has been charged with an extremely serious offense, arising from his

entry into the Capitol with a violent mob while dressed in tactical gear and armed with a taser, to

disrupt the counting of the Electoral College votes from the 2020 Presidential election.

MUNCHEL also seized several pairs of white plastic handcuffs and carried them around with him

while inside the Capitol; he appears to have brought them back to Nashville with him, perhaps as

trophies. MUNCHEL also made statements evincing an intent to engage in violent conduct

because of his disillusionment with the outcome of the 2020 Presidential election. And the uprising

MUNCHEL engaged in has also resulted in at least five deaths, including of a Capitol police officer

who died after engaging in a physical confrontation with members of the mob.




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        In considering the nature and circumstances of the offense, the Court should also weigh

the possible penalty MUNCHEL faces upon conviction. See United States v. Townsend, 897 F.2d

989, 995 (9th Cir. 1990). Here, MUNCHEL faces a statutory maximum term of imprisonment of

20 years, if convicted of the charges in the complaint. This time period represents a substantial

penalty, which would serve as powerful motivation for MUNCHEL to flee the jurisdiction were

he to be released. This factor thus weighs in favor of detention.

        B.       The Evidence of MUNCHEL’s Dangerousness is Strong 3

        The weight of the evidence of MUNCHEL’s dangerousness is strong. As set forth more

fully in Section V.C below, MUNCHEL has a history of contacts with law enforcement.

MUNCHEL’s conduct underlying the instant offense—which includes MUNCHEL stashing

unknown “weapons” before entering the Capitol, carrying a taser on his person into the Senate

gallery, and seizing handcuffs as he and others stormed the building—also demonstrates the danger

he poses to the community if released. This factor thus weighs in favor of detention as well.

        C.       History and Characteristics of the Defendant

        MUNCHEL has had several prior contacts with law enforcement. According to the Pretrial

Services Report, MUNCHEL was arrested for possession of less than one ounce of marijuana in

Fulton County, Georgia, on November 24, 2011. That case was dismissed on June 30, 2014.

MUNCHEL was again arrested for possession of less than one ounce of marijuana, in Dunwoody,

Georgia, on March 24, 2013. MUNCHEL was convicted on April 29, 2014, and sentenced to 12

months’ probation. MUNCHEL was arrested for battery in Fulton County on May 30, 2013. That

case was dismissed on August 5, 2015. Lastly, MUNCHEL was arrested for possession of less

than one ounce of marijuana in Dunwoody on March 27, 2014. He failed to appear on March 31,


3
        “This factor goes to the weight of the evidence of dangerousness, not the weight of the evidence of the
defendant’s guilt.” Stone, 608 F.3d at 948 (citation omitted).

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2014, although it appears that he was not prosecuted for that violation. He pled guilty to the

possession offense on April 29, 2014, and was sentenced to 12 months’ probation. 4 MUNCHEL

thus has a history, although it is not extensive, of contacts with law enforcement, including multiple

convictions for misdemeanor drug offenses and at least one instance of failing to appear for a court

proceeding. This factor thus weighs in favor of detention as well.

        D.       MUNCHEL Poses a Danger to the Community if Released

        For reasons already cited related to the charged conduct, MUNCHEL poses a serious

danger to the community. His release in this case would therefore compromise the safety of the

general public. This factor thus weighs in favor of detention as well.

        E.       Risk of Flight

        As noted, MUNCHEL faces a significant statutory maximum penalty if he is convicted of

the charges in the complaint. MUNCHEL also has a record of failing to appear on at least one prior

occasion in a state-court matter. Furthermore, MUNCHEL took steps in this case to evade

detection by law enforcement. When it became clear he was a suspect in this case, he deactivated

his Facebook account; gave his cell phone to an associate; and left his residence and failed to show

up for his job without telling W-1 where he was going. MUNCHEL only turned himself in to law

enforcement when it became clear that the FBI had searched his residence and had an arrest warrant

for him—in other words, when his apprehension was all but inevitable. For these reasons, this

Court should find by a preponderance of the evidence that MUNCHEL poses a serious risk of

flight, and detain him on that basis.




4
         The representations in this section are based upon the government’s review of the Pretrial Services Report,
the National Crime Information Center record for the defendant, Tennessee law enforcement databases, and other
criminal history materials for the defendant. The government has not yet obtained certified copies of all of the
defendant’s prior convictions.

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VI.     CONCLUSION

        For the foregoing reasons, as well as any reasons which may be set forth at a hearing on

this motion, the government respectfully submits that there exists no condition or combination of

conditions which would assure the safety of any person or the community, or which would ensure

the defendant’s appearance at his court hearings. Accordingly, the government requests that the

Court order the defendant detained pending trial.

        In the event that the Court elects to release MUNCHEL pending trial, the government

makes two requests. First, the government requests that the Court include in its release order that

the defendant (1) be ordered to wear a GPS tracking device; (2) stay away from Washington, D.C.,

unless he is appearing for court, meeting with pretrial services, or consulting with his attorney; (3)

call pretrial services once per week; (4) advise pretrial services of any travel he intends to

undertake within the United States outside of the Middle District of Tennessee; (5) not travel

outside of the continental United States without court approval; and (6) participate in all future

proceedings as directed. Second, the government requests that the Court stay any release order so

that the government may file a motion for revocation of the release order with the court having

original jurisdiction over the offenses, namely, the United States District Court for the District of

Columbia, pursuant to 18 U.S.C. § 3145(a).

                                                         Respectfully submitted,

                                                         DONALD Q. COCHRAN
                                                         United States Attorney


                                               By:          /s/ Ben Schrader
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 20, 2021, I sent a copy of the foregoing via the Court’s

electronic filing system to Caryll Alpert, Esq., counsel for the defendant.


                                                     s/ Ben Schrader
                                                  BEN SCHRADER
                                                  Assistant United States Attorney




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